Case 1:17-cv-00409-TWP-MPB Document 1 Filed 02/09/17 Page 1 of 5 PageID #: 1




                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF INDIANA
                              INDIANAPOLIS DIVISION

    NICHOLE L. RICHARDS,

                    Plaintiff,

    v.                                             CASE NO.: 1:17-cv-409

    PAR, INC., and LAWRENCE TOWING,
    LLC,
                                                            JURY DEMAND
                    Defendants.

                                         COMPLAINT

                                  I.          INTRODUCTION

     1. This is an action for statutory and actual damages, treble damages, prejudgment
        interest, costs of the action and a reasonable attorney’s fee brought by Nichole
        Richards for violation of the Fair Debt Collection Practices Act, 15 U.S.C. § 1692
        et seq., Replevin and violation of the Indiana Crime Victims Relief Act.

     2. It has long been Indiana law that a self-help repossession – a rare delegation of
        the state’s exclusive prerogative to resolve disputes – may only be accomplished
        if it can be accomplished without a breach of the peace. See Census Fed. Credit
        Union v. Wann, 403 N.E.2d 348, 350 (Ind. Ct. App. 1980). A potential repossesor
        must immediately desist upon meeting any resistance – verbal or otherwise. Id. at
        352. Defendants’ failure to abide by this basic and long-standing requirement has
        given rise to this lawsuit.

                                   II.        JURISDICTION

     3. Jurisdiction of this court arises under 15 U.S.C. § 1692k(d), 28 U.S.C. §§ 1331,
        1337 and 1367.

                                       III.    PLAINTIFF

     4. Plaintiff Nichole Richards is a natural person residing in Marion County, Indiana.

                                   IV.        DEFENDANTS

     5. Defendant PAR, Inc. (“PAR”) is a for-profit domestic corporation with its
        principal place of business in Indianapolis, Indiana.
Case 1:17-cv-00409-TWP-MPB Document 1 Filed 02/09/17 Page 2 of 5 PageID #: 2




     6. PAR uses instrumentalities of interstate commerce and the mails in their business
        the principal purpose of which is the enforcement of security interests; at all times
        referenced herein, PAR was operating as a debt collector as defined by 15 U.S.C.
        § 1692a(6).

     7. Defendant Lawrence Towing, LLC (“Lawrence Towing”) is a for-profit domestic
        limited liability company with its principal place of business in Indianapolis,
        Indiana.

     8. Lawrence Towing uses instrumentalities of interstate commerce and the mails in
        their business the principal purpose of which is the enforcement of security
        interests; at all times referenced herein, Lawrence Towing was operating as a debt
        collector as defined by 15 U.S.C. § 1692a(6).

                              V.      STATEMENT OF FACTS

     9. Plaintiff purchased a used 2010 Chevrolet Tahoe, VIN #
        1GNUCCE0XAR103451 (“Tahoe”), on February 26, 2015 from Tru Worth Auto
        for $26,750.00.

     10. Huntington National Bank (“Huntington”) financed the purchase and obtained a
         lien on the Tahoe.

     11. The Tahoe was purchased and used primarily for personal, family or household
         purposes.

     12. Plaintiff missed payments on the Tahoe and became in default under the terms of
         the Personal Loan Agreement with Huntington.

     13. Huntington contracted with PAR to repossess the Tahoe.

     14. PAR contracted with Lawrence Towing to repossess the Tahoe.

     15. On February 6, 2017, in the early morning hours, employees of Lawrence
         Towing, went to Plaintiff’s residence located at 7436 Sioux Run, Indianapolis, IN
         46219.

     16. The Tahoe had a trailer attached to it and was not readily accessible, so Lawrence
         Towing had to make contact with Plaintiff to accomplish the repossession.

     17. Lawrence Towing did make contact with Plaintiff and Plaintiff told Lawrence
         Towing that they could not take her truck.

     18. Lawrence Towing told Plaintiff that they were going to take the Tahoe whether
         she liked it or not, and that it could either be the easy way or the hard way.




                                              2
Case 1:17-cv-00409-TWP-MPB Document 1 Filed 02/09/17 Page 3 of 5 PageID #: 3




     19. To intimidate Plaintiff, Lawrence Towing also told Plaintiff that they were
         allowed to recover the Tahoe by any means necessary, including breaking into a
         garage, cutting locks and removing trailers.

     20. Plaintiff still said they could not have the truck and told them to leave her
         property.

     21. Instead of terminating the repossession as required by Indiana law, Lawrence
         Towing called the police.

     22. Officers from the Indianapolis Metropolitan Police Department arrived and
         Lawrence Towing enlisted them to assist in the repossession.

     23. Despite the fact that she was lawfully resisting a breach of the peace repossession,
         Plaintiff was handcuffed, had the keys to the Tahoe physically removed from her
         possession and was threatened with arrest.

     24. Plaintiff was also forced to unhook the trailer from the Tahoe so that the Tahoe
         could be towed away.

     25. Lawrence Towing towed the Tahoe away.

     26. Before towing the Tahoe away, Lawrence Towing told Plaintiff that it would
         “help” her redeem the Tahoe by falsely reporting to Huntington that she
         peacefully and voluntarily surrendered it.

     27. Following the repossession, Plaintiff contacted Huntington and advised them that
         the Tahoe had been taken illegally and asked for its return.

     28. Huntington refused to return the Tahoe to Plaintiff and advised her that she would
         have to pay the outstanding balance to redeem the Tahoe.

     29. The repossession performed by Lawrence Towing was in breach of the peace.

     30. The repossession performed by Lawrence Towing was illegal.

     31. Upon information and belief, Defendants have possession of the Tahoe but have
         no legal right to said possession.

     32. Defendants have no present possessory right to the Tahoe because it was taken
         illegally.

                                VI.     CLAIMS FOR RELIEF

                       A. Fair Debt Collection Practices Act – All Defendants

     33. Plaintiff repeats, re-alleges and incorporates by reference paragraphs one through
         thirty-two above.

                                               3
Case 1:17-cv-00409-TWP-MPB Document 1 Filed 02/09/17 Page 4 of 5 PageID #: 4




     34. Defendants violated the Fair Debt Collection Practices Act. These violations
         include, but are not limited to:

             a. Taking non-judicial action (i.e., self-help repossession) to effect
                dispossession of property when there was no present right to possession of
                the property claimed as collateral through an enforceable security interest,
                in violation of 15 U.S.C. § 1692f(6)(A).

     35. As a result of the violation of the Fair Debt Collection Practices Act, Defendants
         are liable to Plaintiff for her actual damages, statutory damages, costs, attorney
         fees and all other appropriate relief.

         WHEREFORE, Plaintiff respectfully requests that the Court enter judgment in her
  favor and against Defendants in an amount that will compensate her for her actual
  damages, statutory damages, costs, attorney fees and all other appropriate relief.

                                       B. Replevin – All Defendants

     36. Plaintiff repeats, re-alleges and incorporates by reference paragraphs one through
         thirty-two above.

     37. Plaintiff is the owner of the Tahoe.

     38. Defendants wrongfully took possession of the Tahoe.

     39. Defendants unlawfully maintain possession of the Tahoe.

     40. Plaintiff is entitled to the return of the Tahoe.

          WHEREFORE, Plaintiff respectfully requests that the Court enter judgment in her
  favor and against Defendants for delivery of the Tahoe to Plaintiff or the value of the
  Tahoe if delivery is not possible, damages for the detention of the Tahoe, prejudgment
  interest and all other appropriate relief.

                        C. Indiana Crime Victims Relief Act – All Defendants

     41. Plaintiff repeats, re-alleges and incorporates by reference paragraphs one through
         thirty-two above.

     42. Lawrence Towing knowingly and intentionally refused to leave Plaintiff’s
         property after having been denied repossession and asked to leave by Plaintiff and
         thereby committed criminal trespass pursuant to Indiana Code § 35-43-2-2.

     43. Defendant PAR is liable for the criminal trespass by Lawrence Towing.



                                                4
Case 1:17-cv-00409-TWP-MPB Document 1 Filed 02/09/17 Page 5 of 5 PageID #: 5




     44. Defendants knowingly and intentionally exerted unauthorized control of the
         Tahoe and thereby committed criminal conversion pursuant to Indiana Code § 35-
         43-4-3.

     45. Plaintiff suffered a pecuniary loss as a result of the violation of Indiana Code §§
         35-43-2-2 and 35-43-4-3.

     46. Plaintiff is entitled to all damages as provided by Indiana Code § 34-24-3-1.

         WHEREFORE, Plaintiff respectfully requests that the Court enter judgment in her
  favor and against Defendants for all damages as provided by Indiana Code § 34-24-3-1,
  prejudgment interest and all other appropriate relief.

                                      VII.     CONCLUSION

          Plaintiff respectfully requests judgment in her favor and against Defendants for
  her statutory and actual damages, treble damages, prejudgment interest, costs of the
  action, a reasonable attorney’s fee and all other damages allowed by law.


                                                       Respectfully submitted,

                                                       s/ Robert E. Duff
                                                       Robert E. Duff, Atty No. 16392-06
                                                       Indiana Consumer Law Group/
                                                       The Law Office of Robert E. Duff
                                                       P.O. Box 7251
                                                       Fishers, IN 46037
                                                       800-817-0461
                                                       robert@robertdufflaw.com



                                  JURY TRIAL REQUEST

         Plaintiff requests a trial by jury.

                                                       s/ Robert E. Duff
                                                       Robert E. Duff, Atty No. 16392-06
                                                       Indiana Consumer Law Group/
                                                       The Law Office of Robert E. Duff
                                                       P.O. Box 7251
                                                       Fishers, IN 46037
                                                       800-817-0461
                                                       robert@robertdufflaw.com



                                                5
